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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

In re:
                                                                        Chapter 11
         SPECIALTY RETAIL SHOPS HOLDING
         CORP., et al. 1                                                Case No. 19-80064-TLS
                                                                        (Jointly Administered)
                                          Debtors.




                           REQUEST FOR TRANSCRIPT OF HEARING

         Shopko Note Holding, LLC (as successor to Spirit MTA REIT, L.P.) (“SNH”) respectfully

requests a written transcript of the hearings held on February 28, 2019, on Debtors’ Amended

Disclosure Statement (Doc. No. 392), Debtors’ Motion for Examination (Doc. No. 409), and

Debtors’ Motion for Entry of an Order (I) Approving the Adequacy of the Disclosure Statement

(II) Approving the Solicitation and Notice Procedures with Respect to Confirmation of the

Debtors’ Proposed Joint Chapter 11 Plan, (III) Approving the Forms of Ballots and Notices in

Connection Therewith, (IV) Scheduling Certain Dates with Respect Thereto (Doc. No. 412). SNH

further requests the transcript be delivered on an expedited basis and within three (3) calendar days

of this request.

           Dated: March 18, 2019.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained R/E
SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding Company,
LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing, LLC (6346);
ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC (0592). The
location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.


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                                        SHOPKO NOTE HOLDING, LLC (as successor
                                        to Spirit MTA REIT, L.P.),


                                        By: /s/ Brian J. Koenig
                                           Brian J. Koenig, NE#23807
                                           Kristin Krueger, NE#23919
                                           KOLEY JESSEN P.C., L.L.O.
                                           One Pacific Place, Suite 800
                                           1125 South 103rd Street
                                           Omaha, NE 68124-1079
                                           (402) 390-9500
                                           (402) 390-9005 (facsimile)
                                           Brian.Koenig@koleyjessen.com
                                           Kristin.Krueger@koleyjessen.com
                                        and
                                              Brad Eric Scheler
                                              Michael C. Keats
                                              Peter B. Siroka
                                              FRIED, FRANK, HARRIS, SHRIVER &
                                                JACOBSON LLP
                                              One New York Plaza
                                              New York, New York 10004-1980
                                              (212) 859-8000
                                              Brad.Eric.Scheler@friedfrank.com
                                              Michael.Keats@friedfrank.com
                                              Peter.Siroka@friedfrank.com

                                        Attorneys for Shopko Note Holding, LLC (as
                                        successor to Spirit MTA REIT, L.P.)




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                                 CERTIFICATE OF SERVICE

         On this 18th day of March, 2019, I electronically filed the foregoing with the Clerk of the

Bankruptcy Court using the CM/ECF system which sent notification of such filing to all CM/ECF

participants.



                                                      /s/ Brian J. Koenig
                                                      Brian J. Koenig




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